    23-10164-smr Doc#128 Filed 06/09/23 Entered 06/09/23 07:43:19 Ntc/Lft Stay Hrg BK
                                  (Robins)) Pg 1 of 1
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                  Bankruptcy Case
                                                                                  23−10164−smr
                                                                             No.:
                                                                     Chapter No.: 7
                                                                           Judge: Shad Robinson
IN RE: ASTRALABS Inc , Debtor(s)




                                         NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

     at   Austin Courtroom 1, Homer Thornberry Judicial Bldg., 903 San Jacinto, Austin, TX 78701

     on   7/12/23 at 01:30 PM

     Hearing to Consider and Act Upon the Following: (Related Document(s): 127 Motion for Relief from Stay
     (14 Day Objection Language) (Filing Fee: $188.00) filed by Paul David Moak for Creditor AFCO Credit
     Corporation (Attachments: #1 Exhibit A − Finance Agreement #2 Exhibit B − Second Finance Agreement #3
     Exhibit C Third Finance Agreement #4 Exhibit D − Statement of Account #5 Exhibit E − Proposed Order #6
     Affidavit of Patti L. Smith)) Hearing Scheduled For 7/12/2023 at 01:30 PM at Austin Courtroom 1 (Boyd,
     Laurie) . The debtor must file a response within 14 DAYS from the date of service of the above motion. If a
     response is NOT timely filed, NO HEARING WILL BE HELD and the relief requested in the motion will
     be granted after the expiration date. Prior court approval through CM/ECF is required to appear by WebEx or
     by phone for this hearing.


Dated: 6/9/23
                                                           Barry D. Knight
                                                           Clerk, U. S. Bankruptcy Court




                                                                                      [Hearing Notice (BK)−TMD] [NtchrgBKtmdap]
